Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 1 of 18 Pageid#: 1058




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION


         BABY DOE, et al.,                               )
                                                         )
                 Plaintiffs,                             )
                                                         )
         v.                                              )       Case No. 3:22-cv-49-NKM
                                                         )
         JOSHUA MAST, et al.,                            )
                                                         )
                 Defendants,                             )
                                                         )
         and                                             )
                                                         )
         UNITED STATES SECRETARY OF                      )
         STATE ANTONY BLINKEN, et al.,                   )
                                                         )
                 Nominal Defendants.                     )
                                                         )

                      DEFENDANTS JOSHUA AND STEPHANIE MAST’S
                     REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
                THE AMENDED COMPLAINT UNDER RULES 12(B)(1) AND 12(B)(6)

         The Does’ opposition1 is full of invective but contains nothing to show that this federal

  case should proceed on the merits. To the contrary, it confirms that the Does are grasping at straws

  to stay in federal court notwithstanding clear precedent that their claims do not belong here.

         First, the domestic-relations exception to federal jurisdiction squarely applies, and the

  Amended Complaint should be dismissed under Rule 12(b)(1) for lack of jurisdiction. The Does



  1
    The Supreme Court of Virginia recently denied the Does’ effort to shield their identities
  asymmetrically in state court. They have had no qualms leveling public accusations against the
  Masts, here and in the press, but they insist that their own names should be shielded. (Never mind
  that publicly naming the Masts effectively denies anonymity to Baby Doe and puts her and her
  adoptive parents at risk.) In light of the Supreme Court of Virginia’s order, their names are now
  public in the Virginia courts. The Masts anticipate filing a motion asking this Court to lift the “John
  Doe” and “Jane Doe” pseudonyms and have asked Plaintiffs to meet and confer on the issue. The
  Masts will continue to use the pseudonyms in this proceeding pending further order of the Court.
                                                    1
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 2 of 18 Pageid#: 1059




  bob and weave, arguing alternatively that their case is all about damages (to downplay their plain

  objective to unwind the Circuit Court’s Adoption Order) and that it is all about declaratory relief

  (in a misguided attempt to invoke federal-question jurisdiction). But the Does cannot avoid what

  their complaint and common sense make clear: they dispute the validity of the Adoption Order and

  seek this Court’s help to have it set aside, which federal law does not allow. See Elk Grove Unified

  Sch. Dist. v. Newdow, 542 U.S. 1, 12–13 (2004); Ankenbrandt v. Richards, 504 U.S. 689, 703

  (1992); Doe v. Doe, 660 F.2d 101, 106 (4th Cir. 1981).

         Second, the Does cannot evade the domestic-relations exception by invoking federal-

  question jurisdiction based on the assertion that their “right to relief as to Count 1 and their request

  for declaratory relief necessarily depend on resolution of substantial questions of federal law.”

  Am. Compl. ¶ 19. Aside from the fact that their requests for declaratory relief seek impermissible

  advisory opinions, see Mem. in Support of Mot. to Dismiss Am. Compl. (“Mem.”), Dkt. #86, 14

  n.9 (citing Johnson v. Charlotte-Mecklenburg Sch. Bd. of Educ., 20 F.4th 835, 842 (4th Cir. 2021)),

  they cannot invoke federal-question jurisdiction solely by pointing to federal arguments that

  supposedly support their state-law claims. Under the “well-pleaded complaint” rule, they have to

  show that their claims could not be proved without addressing a federal-law issue. See, e.g., Pinney

  v. Nokia, Inc., 402 F.3d 430, 442 (4th Cir. 2005).

                                           And Gunn v. Minton, 568 U.S. 251 (2013), is not to the

  contrary.

         Third, if the Court does not dismiss the Amended Complaint outright under Rule 12(b)(1)

  based on the domestic-relation exception, then it should nevertheless stay this case until the pre-

  existing state case concludes. The abstention doctrines counsel in favor of staying this federal case.

  See generally Quackenbush v. Allstate Ins. Co., 517 U.S. 706 (1996). And in any event, the Court



                                                     2
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 3 of 18 Pageid#: 1060




  has the inherent discretion to control its docket for efficiency, Landis v. N. Am. Co., 299 U.S. 248,

  254 (1936), which here warrants allowing at least the pending interlocutory appeal in the Virginia

  courts to play out.

         Finally, if the Court does decide to consider the merits of the Does’ claims, it should

  dismiss them under Rule 12(b)(6) because they fail to state a viable claim under Virginia law.

  None of the Does’ state-law claims is meant to provide a vehicle for the collateral attack they

  launch here on the Adoption Order. At most, the Court might want to consider certification to the

  Virginia Supreme Court before adopting any of the Does’ novel theories of Virginia tort law. See

  Va. R. Sup. Ct. 5:40(a).2

                                    *       *       *       *       *

         The federal courts usually deal with dueling federal and state proceedings when the two

  sides would prefer to litigate in different venues. Here, the Does filed this ill-fitting federal case

  while their own state-court action remains pending. That coincided with other efforts to end-run

  the Circuit Court, including an unsuccessful challenge to the Masts’ custody order and

  unsuccessful petition for interim relief submitted to the Supreme Court of Virginia, as well as the

  Does’ media campaign that resulted in the Masts’ being denounced by the Taliban. But they were

  right the first time: the Does’ challenge to the Adoption Order should be heard, if at all, in the

  Virginia courts where their challenge has been litigated for over a year.



  2
    The Does complain that the Masts have cited sources outside their complaint and do not take all
  of their allegations at face value. But the Court may consider materials from the Circuit Court and
  the Masts’ prior TRO Petition in this Court. The Does specifically referenced those proceedings,
  and the TRO Petition in particular, and made them integral to the Does’ claims. That is all that is
  required for this Court to consider them. See, e.g., Goines v. Valley Cmty. Servs. Bd., 822 F.3d
  159, 166 (4th Cir. 2016) (“[W]e [] consider documents that are explicitly incorporated into the
  complaint by reference . . . .” (citing Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322
  (2007))). The Does do not have to endorse the views expressed in incorporated documents for
  those to be part of the Court’s record.
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Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 4 of 18 Pageid#: 1061




                                             ARGUMENT

         John and Jane Doe completely fail to respond the Masts’ argument that they lack standing

  to bring claims on behalf of Baby Doe. See Mem. 10–11. By failing to respond to the Masts’

  argument altogether, the Does have conceded the point and waived any counterargument. See, e.g.,

  Mahdi v. Stirling, 20 F.4th 846, 905 (4th Cir. 2021); Alvarez v. Lynch, 828 F.3d 288, 295 (4th Cir.

  2016); Harlow v. Wells Fargo & Co., No. 7:22-CV-00267, 2022 WL 2231601, at *7 (W.D. Va.

  June 21, 2022) (“[T]he failure to address an argument in opposition to a motion to dismiss

  constitutes an abandonment of the claim.”). The Court should therefore dismiss all claims

  purportedly brought in the name of the Masts’ adoptive daughter, Baby Doe. See Mem. 11. John

  and Jane Doe’s preserved arguments do not fare better.

         I.      The Domestic-Relations Exception Applies.

         Federal law does not allow the Does to come to federal court to dispute the validity of the

  Adoption Order and seek this Court’s help to have it set aside. See Newdow, 542 U.S. at 12–13;

  Ankenbrandt, 504 U.S. at 703; Doe, 660 F.2d at 106. Through artful pleading and some bait-and-

  switch, they try to evade this well-established domestic-relations exception to federal jurisdiction.

  But none of their arguments escapes the inevitable conclusion.

         To start, the Does’ two arguments against the domestic-relation exception are flatly

  inconsistent. First, they argue that the exception does not apply because they are seeking monetary

  damages, not a determination of child custody. See Opp. to Mots. to Dismiss (“Opp.”), Dkt. #113,

  at 3–8. Next, they argue that the exception does not apply because they “invoke federal question

  jurisdiction in addition to diversity jurisdiction,” id. at 9, based on their theory of their parental

  rights, see id. at 10 (“[T]he declaratory relief that Plaintiffs John and Jane Doe . . . will establish

  that they had a right to maintain a parental or custodial relationship with Baby Doe.”). But this



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Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 5 of 18 Pageid#: 1062




  Court could not accept that theory of parental rights and issue the declaratory relief the Does seek

  without intruding on the very domain of domestic relations that federal law forbids. The Does

  cannot have it both ways.

         Nor can they have it either way; both arguments fail on their own.

         First, the Does wrongly cite Ankenbrandt for the proposition that their complaint cannot

  be covered by the domestic-relations exception if they do not explicitly seek an order granting

  them custody. See Opp. 3 (citing 504 U.S. at 704). The Supreme Court put any such suggestion to

  bed in Newdow, explaining that under Ankenbrandt, it may be appropriate for a federal court “to

  decline to hear a case involving ‘elements of the domestic relationship,’ even when divorce,

  alimony, or child custody is not strictly at issue.” Newdow, 542 U.S. at 13 (citation omitted)

  (quoting Ankenbrandt, 504 U.S. at 705). The relevant question is not whether a literal custody

  order appears in the Prayer for Relief, but whether the Does’ claims call on the Court to resolve an

  issue with the domestic-relations jurisdiction committed to the state courts.

         The Does are thus correct when they say that “Raftery v. Scott is instructive,” Opp. 3, but

  not for the reasons they offer. In Raftery, the relevant aspect of the mother’s claim that put it

  outside the domestic-relations exception was not that she had sought monetary damages; it was

  that she had brought a claim which did not depend on the parties’ respective parental rights. See

  Opp. 4 (“If . . . a family member such as an aunt, a cousin or a grandparent or even a nonrelative

  such as a child nurse or babysitter[] had set about destroying the relationship between the father

  and his son, any cause of action arising out of such behavior would not be foreclosed from a

  hearing in federal court . . . .”) (quoting 756 F.2d 335, 337–38 (4th Cir. 1985)). The Does then

  argue that they can sue the Masts without implicating the domestic-relation exception because,

  they say, the Masts “were strangers to Baby Doe, not even her family members.” Opp. 4. But that,



                                                   5
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 6 of 18 Pageid#: 1063




  of course, ignores the final Adoption Order, which makes the Masts Baby Doe’s adoptive parents

  and further confirms that they are asking the Court to wade into a state domestic-relations matter.

         The federal courts take an analogously functional approach to policing limits on federal

  jurisdiction over challenges to state convictions. Under Heck v. Humphrey, 512 U.S. 477 (1994),

  a plaintiff “may not recover damages under § 1983 for alleged constitutional violations that would

  necessarily imply invalidity of conviction or sentence unless plaintiff demonstrated that conviction

  or sentence was set aside or invalidated.” Magwood v. Robinson, 784 F. App’x 169, 170 (4th Cir.

  2019) (citing Heck, 512 U.S. at 486–87). Under that rule, courts are required to “consider whether

  a judgment in favor of the plaintiff would necessarily imply the invalidity of his conviction or

  sentence.” Heck, 512 U.S. at 487 (emphasis added). The same approach sensibly applies to the

  domestic-relations exception and would require dismissal where, as here, the plaintiff’s claim

  necessarily implies the invalidity of an adoption order.

         Every one of the Does’ tort claims is premised on the notion that, contrary to the Adoption

  Order, the Masts are not Baby Doe’s lawful parents. See Am. Compl. ¶¶ 155, 158 (tortious

  interference claim alleges the Does have “a fundamental right” to a parental relationship with Baby

  Doe and that the Masts used “fraudulent means” to prevent that relationship); id. ¶¶ 167, 176 (fraud

  claim that the Masts “fraudulently obtained” the adoption and custody orders and “unlawfully

  obtain[ed] physical custody of Baby Doe” through that adoption); id. ¶ 183 (common law

  conspiracy claim that the Masts “defraud[ed] John and Jane Doe” when they “abduct[ed] and

  unlawfully restrain[ed] Baby Doe”); id. ¶¶ 191, 193 (alleging the Masts intentionally inflicted

  emotional distress upon the Does by making misrepresentations to Virginia state and federal courts

  and by separating the Does and Baby Doe); id. ¶¶ 198, 200 (alleging false imprisonment because

  the Masts “physically removed Baby Doe from the custody of her lawful guardians” and



                                                   6
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 7 of 18 Pageid#: 1064




  unlawfully restrained Baby Doe by “confining her to the[ir] care” “without their permission or

  consent”).

         While the Does purport to refute that characterization with string citations of their own, see

  Opp. 6–8, they cannot help but confirm it. They explain that their fraud claim is premised on

  allegations that the Masts “unlawfully obtain[ed] physical custody of Baby Doe” and “abduct[ed]”

  her, Opp. 6 (citing Am. Compl. ¶¶ 167, 173), but of course, they can make that allegation based

  only on their view that the Masts’ Adoption Order is invalid. They explain that their IIED and

  false-imprisonment claims rest on an allegation that the Masts’ attorney, “through his fraudulent

  in-court misrepresentations, . . . procur[ed] the custody and adoption orders for Joshua and

  Stephanie Mast,” and that Joshua Mast “physically removed Baby Doe from the custody of her

  lawful guardians without their permission or consent.” Opp. 7 (citing Am. Compl. ¶¶ 192, 198).

  And they claim that their tortious interference claim is based on an allegation “that they have

  parental or custodial rights today to Baby Doe by virtue of the Afghan law . . . and by virtue of the

  United States government’s recognition of those rights.” Opp. 8. But of course, that begs the

  question how those purported rights interact with the Masts’ rights under the Adoption Order. And

  these are the very issues that the Does are litigating in the state-court proceeding.

         Second, as explained in the following section, see infra Part II, the Does cannot end-run

  the domestic-relations exception by claiming that they have raised a federal question through their

  requests for declaratory relief. The federal Courts of Appeals are split on whether the domestic-

  relations exception applies to federal-question jurisdiction. Compare Firestone v. Cleveland Tr.

  Co., 654 F.2d 1212, 1215 (6th Cir. 1981) (“Even when brought under the guise of

  a federal question action, a suit whose substance is domestic relations generally will not be

  entertained in a federal court.”), and Kowalski v. Boliker, 893 F.3d 987, 995 (7th Cir. 2018)



                                                    7
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 8 of 18 Pageid#: 1065




  (domestic relations exception “appl[ies] to both federal-question and diversity suits”), with Deem

  v. DiMella-Deem, 941 F.3d 618, 621 (2d Cir. 2019) (stating the domestic relations exception

  doesn’t apply in federal question cases but applying the Second Circuit’s “domestic relations

  abstention doctrine” to a federal case). As the Does note, the Fourth Circuit has held that it applies

  only to diversity jurisdiction. See Opp. 9 (citing United States v. Johnson, 114 F.3d 476, 481 (4th

  Cir. 1997)). But that circuit split need not be implicated here because the Does have not validly

  pleaded a federal claim.

         And in terms of whether the Does’ complaint otherwise implicates the domestic-relations

  exception, the requests for declaratory relief make it inescapably clear that it does. Without tying

  their requests for declaratory relief to the validity of the Adoption Order, the Does cannot possibly

  explain how they would have standing to seek them. Just like with any other claim for relief, the

  Does bear the burden of showing that they have Article III standing to pursue each of their

  requested declarations, which means that the declaration must be likely to redress a concrete

  injury-in-fact caused by the Defendants’ challenged action. See, e.g., Kandare v. Gillies, No.

  2:20CV318, 2021 WL 4932003, at *16 (E.D. Va. July 29, 2021), appeal dismissed, No. 21-2188,

  2022 WL 1182066 (4th Cir. Jan. 10, 2022); Booker v. Dominion Virginia Power, No. CIV.A.

  3:09CV759, 2010 WL 1848474, at *6 (E.D. Va. May 7, 2010); Eckstein v. Cullen, 803 F. Supp.

  1107, 1119 (E.D. Va. 1992). The Does do not try to make this showing—even in their footnote

  addressing the issue—arguing merely that the declarations are “tied to Count I of Plaintiffs’

  Amended Complaint” and go to one “element of the claim.” Opp. 5 n.3. But that does not explain

  why the Does need a declaratory judgment, as opposed to merely prevailing on their damages

  claim under Count I. The only conceivable rationale is that they wish to use it as part of their

  collateral attack on the Adoption Order. That is not only impermissible piecemeal litigation by



                                                    8
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 9 of 18 Pageid#: 1066




  advisory opinion, see MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007), but it also

  puts the Does squarely back in the heartland of the domestic-relations exception.

  II.    There is No Federal-Question Jurisdiction.

         In their Amended Complaint, filed in response to Defendants’ initial motions to dismiss,

  the Does did not add any federal claims. But they did add a reference to 28 U.S.C. § 1331 and an

  argument that the Court has federal-question jurisdiction over a sliver of their case based on their

  “right to relief as to Count 1 and their request for declaratory relief necessarily depend on

  resolution of substantial questions of federal law.” Am. Compl. ¶ 19. They argue not only that this

  gets them around the domestic-relations exception, but also that it gets around Burford abstention

  as well. See Opp. 9–13. That effort fails.

         The Does fail to meet their burden as plaintiffs to establish jurisdiction based on § 1331.

  See Evans v. B.F. Perkins Co., a Division of Standex Int’l Corp., 166 F.3d 642, 647 (4th Cir. 1999).

  The first clue is the Amended Complaint which does not plead a single cause of action arising

  under federal law. The Does nevertheless argue that their case falls into that “‘special and small

  category’ of cases in which arising under jurisdiction still lies,” even though its claims “find[]

  [their] origins in state rather than federal law.” Gunn, 568 U.S. at 258 (quoting Empire

  Healthchoice Assurance, Inc. v. McVeigh, 547 U.S. 677, 699 (2006)). It does not.

         Gunn addressed whether a state-law claim for legal malpractice fell within the exclusive

  jurisdiction of the federal courts since it would require the court to consider the merits of the

  client’s underlying federal patent claim. See id. at 258–59. The Court said no. Id. at 258. And it

  specified the key question: whether the claim itself arises under federal law, see id. at 257, not

  whether a federal issue “‘may be the subject-matter of the controversy,’” id. at 264 (quoting New

  Marshall Engine Co. v. Marshall Engine Co., 223 U.S. 473, 478 (1912)).



                                                   9
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 10 of 18 Pageid#: 1067




           To fit within Gunn’s “special and small category” of state-law claims that arise under

   federal law, the Does must identify a “stated federal issue,” and show that the “federal issue is:

   (1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

   court without disrupting the federal-state balance approved by Congress.” Id. at 258 (quotations

   and citations omitted). The Does have to run the table, but they do not come close.

          As a threshold matter, the Does have not even clearly articulated what the federal question

   is that this Court must address. They come closest on page 10 of the Opposition: “a federal issue

   is a necessary element of Count I for tortious interference with parental rights (as well as the

   derivative claim for conspiracy in Count III) because the declaratory relief that Plaintiffs John and

   Jane Doe seek – which raises questions under the U.S. Constitution’s Supremacy Clause – will

   establish that they had a right to maintain a parental or custodial relationship with Baby Doe.” But

   that explains what they think the federal issue will show, not what the issue is. And if anything, it

   confirms once again that this comes down to an issue of parental or custodial rights that is

   committed to the state courts. Moreover, their Amended Complaint refers to the Supremacy Clause

   only in the Prayer for Relief, and thus provides no further clarity. The Does’ argument therefore

   fails on the threshold requirement of having a “stated federal issue.”

          But even if we assume that the Amended Complaint did include a clear federal issue for

   this Court to resolve, the Does still fail to meet the remaining requirements:

          First, even if one or more of the Does’ claims could plausibly implicate a federal question,

   none of them necessarily turns on one.




                                                     10
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 11 of 18 Pageid#: 1068




                                                             . The gravamen of the Does’ claims is that

   the Masts “interfered with [their] parental rights,” Opp. 10, and that is plainly a matter of state law.

          Second, the Does cannot show that any federal question which may be lurking in their

   Amended Complaint is substantial. If it were, one would have expected them to spell it out.

   Moreover, just as in Gunn, whatever resolution may occur in the context of this broader dispute

   between the Masts and the Does, it will be resolved between the parties and “will have no broader

   effects.” 568 U.S. at 264.

          Finally, the Does mistake the import of Gunn’s emphasis on “the federal-state balance

   approved by Congress.” Id. at 258 (emphasis added). Contrary to their characterization, it does not

   mean that the “judge made” domestic-relations exception is irrelevant. Opp. 11. The point in Gunn

   was to ask whether Congress’s grant to the federal courts of exclusive jurisdiction over patent

   claims counseled in favor of federal jurisdiction. The Court held that the federal interest embodied

   in the statute, but implicated only indirectly in the lawsuit, did not outweigh the State’s strong

   interest in regulating the conduct of lawyers, including through malpractice claims. See 568 U.S.

   at 264. The correct analogy here is that whatever unarticulated federal interest the Does may be

   seeking to vindicate, it is not presented so squarely as to displace Virginia’s interest in the

   administration of its adoption system.

          The Does do not cite a single statute that embodies their alleged federal question, and so

   their reliance on cases involving Acts of Congress are inapposite. See Indep. Living Ctr. of S.

   California, Inc. v. Kent, 909 F.3d 272, 278 (9th Cir. 2018) (Medicaid Act); NASDAQ OMX Grp.,

   Inc. v. UBS Sec., LLC, 770 F.3d 1010, 1020–1021 (2d Cir. 2014) (Securities Exchange Act of

   1934); Ormet Corp. v. Ohio Power Co., 98 F.3d 799, 807 (4th Cir. 1996) (Clean Air Act); Sauk-

   Suiattle Indian Tribe v. City of Seattle, No. 2:21-CV-1014, 2021 WL 5200173, at *1 (W.D. Wash.



                                                     11
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 12 of 18 Pageid#: 1069




   Nov. 9, 2021) (Federal Power Act).3 In terms of the federal issues lurking in this dispute, this case

   is much more analogous to Medellin v. Texas, 552 U.S. 491 (2008), where the U.S. Supreme Court

   rejected the notion that the President could preempt state law simply by making a foreign policy

   decision that a state court should reopen its adjudication of criminal cases involving foreign

   defendants. Id. at 531. The Court explained that, outside a longstanding practice with over two

   centuries of congressional acquiescence of Presidents’ compromising U.S. citizens’ civil claims

   against foreign powers, the President himself has no authority to force state courts to reconsider

   their decisions by “Presidential directive,” especially when that directive “reaches deep into the

   heart of the State’s police powers.” Id. at 532. Much less can an embassy official.

          The Does therefore cannot avoid the domestic-relations exception (or Burford abstention)

   on the basis of federal-question jurisdiction they have failed to establish.

          III.    Alternatively, the Court Should Abstain Pending the Ongoing State-Court
                  Proceedings.

          This Court should also abstain from hearing this action because there is an ongoing dispute

   in Virginia state court involving the same issues.

          In addition to their misguided invocation of federal-question jurisdiction, the Does oppose

   Burford abstention by arguing that they assert “established torts long recognized under Virginia

   law” which do “not raise difficult issues of state law.” Opp. 14. But that is demonstrably wrong.

   To take two examples, the Does assert tortious-interference-with-parental-rights and false-

   imprisonment claims against two adoptive parents. The torts themselves may be well-established,




   3
     Two of these cases—Kent and Sauk-Suiattle—were removed to federal court by the defendant.
   See Kent, 909 F.3d at 278 (“The Director removed this case based on federal question
   jurisdiction.”); Sauk-Suiattle, 2021 WL 5200173, at *1 (noting the defendants removed the case).
   No case involved a plaintiff bringing a duplicative federal court action when the plaintiff had
   already brought a state case.
                                                    12
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 13 of 18 Pageid#: 1070
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 14 of 18 Pageid#: 1071
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 15 of 18 Pageid#: 1072




   questions regarding the validity of the Adoption Order. See supra Part I. Asking for damages and

   using artful pleading to get around an obvious conclusion is not enough to allow this case to

   continue.

           In any event, it has long been the rule that federal courts have the power to stay proceedings

   as part of their inherent power to control their dockets. See, e.g., Landis, 299 U.S. at 254 (“[T]he

   power to stay proceedings is incidental to the power inherent in every court to control the

   disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

   for litigants.”). If this Court were to find that the domestic-relations exception does not apply and

   that there is no basis for abstention per se, it would still be prudent and appropriate for the Court

   to stay the case.

   IV.     The Amended Complaint Fails to State a Claim

           The Court does not need to reach whether this Amended Complaint states a claim upon

   which relief can be granted because the Court should dismiss the Amended Complaint on subject

   matter jurisdiction grounds. Regardless, the Does have failed to state a claim.4

           First, there is no tortious interference with parental rights claim because the Masts, not the

   Does, are the only parties that have ever been legally recognized as Baby Doe’s parents. Cf. Opp.

   20 n.11 (admitting that the Does never obtained a foreign custody or adoption order while they

   resided in Afghanistan). The Does argue that their case is like Wyatt v. McDermott, 283 Va. 685

   (2012), because they “had no opportunity to participate in the adoption proceeding of Baby Doe.”



   4
     The Masts do not concede that the Does state a claim for relief on the merits by referring to their
   “well-pleaded complaint.” Cf. Opp. 9 n.5. The “well-pleaded complaint” rule, perhaps “poorly
   named,” “stands for the proposition that the court, in determining whether the case arises under
   federal law, will look only to the claim itself and ignore any extraneous material.” 13D WRIGHT
   & MILLER, FEDERAL PRACTICE AND PROCEDURE § 3566 (3d ed.). It also “bars a plaintiff from
   invoking original federal jurisdiction by anticipating in the complaint a defense that defendant may
   raise.” Id.
                                                    15
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 16 of 18 Pageid#: 1073




   Opposition at 33. But unlike the plaintiff in Wyatt, the Does’ “sole recourse” is not a federal

   lawsuit—right now, Virginia state courts are considering (1) whether the Does can unwind the

   Adoption Order; (2) whether the Circuit Court should unwind the Adoption Order; and

   (3) whether, if the Adoption Order is unwound, the Does should be granted custody of Baby Doe.

          Second, to allege fraud, the Does must show damages. In Community Bank v. Wright, 221

   Va. 172 (1980)—which the Does cite—the Supreme Court of Virginia said, “[a]n allegation of

   fraud in the abstract does not give rise to a cause of action; it must be accompanied by allegation

   and proof of damage.” Id. at 175 (emphasis added). The Does have failed to allege any damages,

   so there is no basis for a fraud claim.

          Third, the Does fail to state a claim for intentional infliction of emotional distress. The

   Masts acted admirably, not outrageously, and the Does can cite only a 35-year-old case from the

   U.S. District Court for the Northern District of Illinois as support for their claim. See Opposition

   at 42–43 (citing Kunz v. Dietch, 660 F. Supp. 679, 683 (N.D. Ill. 1987). But that case is not

   controlling—Virginia law is. And Virginia law says intentional infliction of emotional distress

   claims are “not favored” because its “outrageous and intolerable” element is not objective. Russo

   v. White, 241 Va. 23, 26 (1991). This case proves the point: the Masts and the Does have wildly

   differing views about the Masts’ virtue in caring for Baby Doe, and even if the Does were to prove

   their factual allegations, there would be no objective way to make that qualitative assessment.

          Fourth, the Does fail to state a claim for false imprisonment because (1) they cannot act

   as Baby Doe’s next friend, see Mem. 10–11, and (2) Baby Doe’s alleged crying is not enough to

   show that she knew she was being falsely imprisoned. Compl. ¶ 200. Baby Doe currently lives

   with the Masts, who have provided her a loving family and have met every one of her medical

   needs. She was taken under lawful custody, and no facts alleged show she was falsely imprisoned.



                                                   16
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 17 of 18 Pageid#: 1074




          Finally, there is no claim for civil conspiracy because the Does fail to allege an underlying

   tort. Almy v. Grisham, 273 Va. 68, 81 (2007). And despite their arguments to the contrary, the

   Does’ Complaint fails to plead the particulars of the alleged conspiracy. They do not recount any

   particular meetings or communications between the Defendants, nor do they recount what in

   particular was allegedly said during these communications. The Does also allege that Defendants

   Kimberley Motley, Ahmad Osmani, and Richard Mast acted as the Masts’ agents, see, e.g., Compl.

   ¶¶ 83, 129–30, 144, 165, 184–186, but it is black letter law that conspiracy is “a legal

   impossibility” for such allegations “because a principal and an agent are not separate persons for

   purposes of [Virginia’s] conspiracy statute.” Charles E. Brauer Co. v. NationsBank of Virginia,

   N.A., 251 Va. 28, 36 (1996). So, there is no claim for a fraudulent conspiracy.

                                     *       *      *       *       *

          At a minimum, the Does’ claims would require expanding Virginia law well beyond its

   current contours and would implicate unsettled questions, such as how Virginia tort law interacts

   with Virginia Code § 63.2-1216—which provides that, after six months, final adoption orders

   “shall not be subject to attack in any proceedings, collateral or direct, for any reason”—when a

   plaintiff sues adoptive parents who hold such an order. Thus, to the extent the Court is not prepared

   to dismiss the Does’ claims outright, it should consider certifying any unsettled questions of state

   law to the Supreme Court of Virginia. That Court’s rules allow federal district courts to certify “a

   question of Virginia law [that] is determinative in any proceeding pending before the certifying

   court and it appears there is no controlling precedent on point in the decisions of this Court or the

   Court of Appeals of Virginia.” Va. R. Sup. Ct. 5:40(a); see Lee-Warren v. Sch. Bd. of Cumberland

   Cnty., 241 Va. 442, 442 (1991) (question certified to the Supreme Court of Virginia from the U.S.




                                                    17
Case 3:22-cv-00049-NKM-JCH Document 120 Filed 12/05/22 Page 18 of 18 Pageid#: 1075




   District Court for the Western District of Virginia that was determinative of the dispute). This

   Court should need not and should not create novel Virginia common law on its own.5

                                            CONCLUSION

          For the foregoing reasons, the Court should dismiss the Amended Complaint for lack of

   jurisdiction; or in the alternative, should stay this case pending the outcome of the parallel state-

   court proceedings; or in the further alternative, should dismiss the Amended Complaint for failure

   to state a claim on the merits.

          Dated: December 5, 2022                        Respectfully submitted,

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   5
     As outlined in the Masts’ initial Memorandum, the Amended Complaint fails to plead specific
   facts against Stephanie alleging tortious conduct. See Mem. 25. The Does point to none, and the
   paragraphs from the Amended Complaint in their string citation point primarily to actions taken
   by other purportedly on her behalf without specifying when and how such agreement was made.
   See, e.g., Am. Compl. ¶¶ 88, 109, 115. So, the Complaint should be dismissed as to her.
                                                    18
